
PER CURIAM:
This claim was submitted for decision based on the allegations of the Notice of Claim and the respondent’s Answer.
*168Claimant Eastman Kodak Company seeks payment of a bill for renewal equipment performance program for a Miracode Microfilmer in the amount of $275.00.
The respondent admits the validity of the claim, but states also that it lacked the requisite funds in its appropriation for the fiscal year in question from which the claim could have been paid.
While we feel that this is a claim which is equity and good conscience should be paid, we are of further opinion that an award cannot be made, based on our decision in Airkem Sales and Service, et al. v. Department of Mental Health, 8 Ct. Cl. 180 (1971).
Claim disallowed.
